                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


ONE WISCONSIN INSTITUTE, INC.,
CITIZEN ACTION OF WISCONSIN EDUCATION
FUND, INC., RENEE M. GAGNER,
ANITA JOHNSON, CODY R. NELSON,
JENNIFER S. TASSE, SCOTT T. TRINDL,
MICHAEL R. WILDER, JOHNNY M. RANDLE,
DAVID WALKER, DAVID APONTE, and
CASSANDRA M. SILAS,
                                                                   PRELIMINARY
                             Plaintiffs,                        INJUNCTION ORDER
       v.
                                                                     15-cv-324-jdp
MARK L. THOMSEN, ANN S. JACOBS,
BEVERLY R. GILL, JULIE M. GLANCEY,
STEVE KING, DON M. MILLS,
MICHAEL HAAS, MARK GOTTLIEB, and
KRISTINA BOARDMAN,
all in their official capacities,

                             Defendants.



JUSTIN LUFT, et al.,
on behalf of themselves and all others similarly situated,
                                                                 PRELIMINARY
                             Plaintiffs,
                                                              INJUNCTION ORDER
       v.
                                                                   20-cv-768-jdp
TONY EVERS, et al.,

                             Defendants.


      IT IS ORDERED that defendants are ENJOINED as follows:

      1. For eligible voters who submit an IDPP application between October 19 and
         November 2, 2020, defendants must send the temporary receipt by overnight mail.
         For already-issued temporary receipts that expire between October 19 and
         November 2, 2020, defendants may use First Class or Priority Mail to send
         replacement receipts if they are placed in the mail by October 9. Otherwise,
         replacement receipts for those expiring between October 19 and November 2, 2020,
   must be sent by overnight mail. Defendants must use overnight mail to send a new
   or replacement temporary receipt if a receipt is scheduled to expire or an eligible
   voter submits an IDPP application between October 19 and November 2, 2020.

2. Defendants must direct municipal clerks to post copies of the palm card at polling
   places and to hand out copies of the palm card to anyone who has cast a provisional
   ballot.

3. Defendants are to obtain KW2’s list of minority media organizations and then
   include those organizations on the Commission’s press distribution list.

Entered September 28, 2020.

                                   BY THE COURT:

                                   /s/
                                   ________________________________________
                                   JAMES D. PETERSON
                                   District Judge




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